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Attorneys for Defendant AB Hollywood, LLC




                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION

CONNER SLEVIN, an individual,                        Case No. 3:23-cv-01404-YY

               Plaintiff,                            DECLARATION OF NICKY C.
                                                     BLUMM IN SUPPORT OF
       vs.                                           DEFENDANT AB HOLLYWOOD,
                                                     LLC’S RULE 11 MOTION FOR
AB HOLLYWOOD, LLC, a limited liability               SANCTIONS
company,

               Defendant.


       I, the undersigned Nicky C. Blumm, declare that:

       1.      I am one of the attorneys for Defendant AB Hollywood, LLC (“defendant”) in this

case. I make this declaration based on personal knowledge and am competent to testify on the

matters stated herein.

       2.      On or about May 31, 2024, I had a call with counsel for Conner Slevin (“plaintiff”)

during which I made a settlement offer to resolve the present case. As soon as I said the dollar

figure, plaintiff’s counsel interrupted me and told me we could settle at that value.

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                                                                Telephone: 971.712.2800 • Fax 971.712.2801
        3.      On or about June 4, 2024, plaintiff’s counsel provided defendant with a proposed

Settlement & Release Agreement (“Agreement”).

        4.      I significantly and substantively revised that Agreement before sending it back to

plaintiff’s counsel.

        5.      Plaintiff’s counsel asked for only one revision to the Agreement, that her signature

“as to form” be removed, before agreeing to the Agreement and returning the signature page of the

Agreement. But instead of her client’s signature on the signature block, the signature was

plaintiff’s counsel’s signature with the notation “POA.”
        6.      On June 20, 2024, I asked plaintiff’s counsel to provide a complete copy of the

Agreement, signed by her client.

        7.      When plaintiff’s counsel did not respond to my June 20th email, I followed up on

July 1st, asking again for the Agreement, signed by plaintiff.

        8.      Attached as Exhibit A to this Declaration is a true and correct copy of the email

exchange between myself and plaintiff’s counsel. The exchange begins with a first message on

May 30, 2024 about a potential settlement. The exchange ends on July 8, 2024. The first email on

July 8, 2024 is from me to plaintiff’s counsel, stating that defendant had withdrawn his permission

to stipulate to the dismissal and asking plaintiff’s counsel to please not file it. The final email on

July 8, 2024 is from plaintiff’s counsel’s stating that she filed the Stipulated Dismissal, despite

that I had withdrawn my client’s permission to do so.

        9.      Attached as Exhibit B to this Declaration is a true and accurate copy of the email

receipt received by defendant indicating that plaintiff had filed the Stipulated Dismissal at 5:53

p.m. on July 8, 2024.

        10.     Attached as Exhibit C to this Declaration is a true and accurate copy of the Requests

for Admission defendant served on plaintiff on May 29, 2024.

        11.     On August 1, 2024, Judge Hernandez held a hearing in a related matter, Slevin v.

Baek, 3:23-cv-01487. During that hearing, Judge Hernandez asked plaintiff several questions to

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ascertain his participation in the lawsuit and his interest in proceeding with plaintiff’s counsel in

that matter. Judge Hernandez held that plaintiff’s counsel may withdraw from the case and that

Judge Hernandez would assist plaintiff in finding another attorney. Judge Hernandez also

permitted the case’s dismissal but allowed the defendant to maintain a post-dismissal claim for

sanctions and other relief.

        12.     During the hearing in Slevin v. Baek, 3:23-cv-01487, defendant produced the Court

a copy of a retainer agreement between plaintiff and plaintiff’s attorney that featured an out-of-

state law firm which plaintiff stated paid him for his part in that litigation and others like it.
        13.     During the hearing in Slevin v. Baek, 3:23-cv-01487, plaintiff admitted to receiving

payment, via check, from the Wampler law firm to “start the process” of initiating ADA litigation.

        14.     Defendant has spent several thousand dollars, in legal fees alone, defending itself

from this lawsuit.

        15.     Attached as Exhibit D is a true and accurate copy of a slip opinion in the matter of

Jordan v. Joe B. Beasely & Associate, L.P., 2024 WL 150584.

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       I hereby declare that the above statement is true to the best of my knowledge and

belief, and that I understand it is made for use as evidence in court and is subject to penalty

for perjury.


       DATED this 25th day of September, 2024

                                            LEWIS BRISBOIS BISGAARD & SMITH LLP



                                            By:    s/ Nicky C. Blumm
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                                                  Attorneys for Defendant AB Hollywood, LLC




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